 Case 5:22-cv-11582-JEL-DRG ECF No. 1, PageID.1 Filed 07/13/22 Page 1 of 14




                  UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN


 HUTCHINSON SEALING                         Case No.
 SYSTEMS, INC.                              Hon.
       Plaintiff,
v.
 ADVANCED CONTROL
 SOLUTIONS & AUTOMATION,
 INC.
       Defendant.



                     COMPLAINT AND JURY DEMAND

      Plaintiff Hutchinson Sealing Systems, Inc. (“Hutchinson”), submits the

following Complaint against Defendant Advanced Control Solutions & Automation,

Inc. (“ACS”):

                                    PARTIES

      1.     Hutchinson is a Delaware corporation with its principal place of

business at 3201 Cross Creek Parkway, Auburn Hills, Michigan 48326.

      2.     Upon information and belief, ACS is an Ohio corporation with its

principal place of business at 1400 Williams Drive, Marietta, GA 30066.

                        JURISDICTION AND VENUE



                                        1
 Case 5:22-cv-11582-JEL-DRG ECF No. 1, PageID.2 Filed 07/13/22 Page 2 of 14




      3.     This Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. § 1332 because this Complaint states an action that is between citizens of

different states and, as set out below, involves an amount in controversy that exceeds

$75,000, exclusive of interest and costs.

      4.     This Court has personal jurisdiction over ACS because ACS has

established minimum contacts with the State of Michigan by entering into a

substantial purchase order contract with a Michigan based company, such that the

exercise of personal jurisdiction will not offend traditional notions of fair play and

substantial justice.

      5.     This Court also has personal jurisdiction over ACS because ACS agreed

to submit any action arising out of the parties’ purchase order contract to the

exclusive jurisdiction of this Court in this District and waived its right to challenge

this Court’s personal jurisdiction over it. (Exhibit A, Hutchinson’s General Terms

and Conditions at ¶¶ 27.1.1–27.1.2.):




                                            2
 Case 5:22-cv-11582-JEL-DRG ECF No. 1, PageID.3 Filed 07/13/22 Page 3 of 14




      6.     Venue in this District is proper under 28 U.S.C. § 1391(b)(3) because

this Court has personal jurisdiction over ACS, and the parties agreed that they would

submit any action arising out the Contract to this Court in this District. See id.

                     GENERAL FACTUAL ALLEGATIONS

      7.     Hutchinson is a Michigan-based manufacturer of automotive parts and

components with manufacturing facilities across the United States.

      8.     Upon information and belief, ACS is a distributor of automation

products and services such as mobile robots used to automate internal transportation

and logistics processes in manufacturing facilities.

      9.     In September 2020, Hutchinson purchased three MiR200 autonomous

mobile robots (the “Robots”) from ACS as well as various accessories,

enhancements and add-ons to be used in Hutchinson’s Church Hill, Tennessee

manufacturing facility which manufactures automotive body sealing components.

(Exhibit B, PO No. P097845) (“Purchase Order.”)

      10.    Hutchinson purchased the Robots to transport finished product from

the production line to the warehouse, with the objective of increasing efficiency,

optimizing labor and personnel and lowering costs through automation.

      11.    Before purchasing the Robots, ACS visited the Church Hill facility in

order to acquire first-hand knowledge of the plant’s automation needs and


                                           3
 Case 5:22-cv-11582-JEL-DRG ECF No. 1, PageID.4 Filed 07/13/22 Page 4 of 14




requirements in order to provide specific recommendations on the appropriate robot

type and functionality for Hutchinson’s particular uses in the Church Hill plant and

operating environment.

      12.    After ACS’s visit, and after being made fully aware of Hutchinson’s

performance, reliability and durability needs and the intended use, ACS specifically

recommended that Hutchinson purchase the Robots.

      13.    In reliance on ACS’s visit and assessment of the Church Hill facility,

Hutchinson purchased the Robots based on ACS’s expertise, skill, knowledge and

specific recommendation. (Ex. B, PO No. P097845.)

            The Chronic Robot Performance Issues ACS Failed to Fix

      14.    Soon after delivery of the Robots, Hutchinson experienced chronic

performance, functionality, downtime, accuracy, and reliability issues that prevented

Hutchinson from using the Robots for their intended purpose.

      15.    These issues included, by way of example, general software and

connectivity issues to wheel slippage, battery charging and relating safety concerns,

and pathing and mapping issues that negatively impacted Robot functionality,

performance, efficiency, availability and safety.

      16.    The Robots’ buggy software negatively impacted the Robots’

functionality, performance, efficiency, availability and safety.


                                           4
 Case 5:22-cv-11582-JEL-DRG ECF No. 1, PageID.5 Filed 07/13/22 Page 5 of 14




      17.     The Robots’ low-quality hardware, including the wheels, cameras and

sensors, also significantly impacted Hutchinson’s ability to efficiently deploy the

Robots without constant maintenance and attention on the production line.

      18.     In an effort to find solutions, Hutchinson spent additional resources to

improve the Robots’ performance at the Church Hill facility, including implementing

recommendations by ACS to address the hardware quality issues. Unfortunately,

these recommendations and claimed solutions did not fix the underlying hardware

quality issues.

      19.     Additionally, in July 2021, Hutchinson received a Safety Notice

revealing that the Robot batteries were at risk of overheating, with a possibility of

catching fire, if the battery experienced a so-called “deep discharge.” (Exhibit C,

Safety Notice.)

      20.     In response to this “deep-discharge” issue, a mandatory software

update was released for the Robots that limited the battery charge to just 50%.

      21.     To ensure that the Robots could perform as required to support

production at the Church Hill facility, Hutchinson purchased an extra battery for

each Robot.




                                          5
 Case 5:22-cv-11582-JEL-DRG ECF No. 1, PageID.6 Filed 07/13/22 Page 6 of 14




      22.    Thus, when the software update was released, the Robots’ utilization

and efficiency was cut by half. As a result, the Robots failed to supply the

performance and efficiency as ACS promised.

      23.    To this day, ACS has not yet provided Hutchinson with replacement

batteries for the Robots.

      24.    As a result of the systemic and unresolved software, hardware and

battery problems, Hutchinson has been unable to launch the Robots into production

despite performing extensive trial runs and corrective actions.

                              The Contract Promises

      25.    The Purchase Order for the Robots incorporated Hutchinson’s General

Terms and Conditions (the “T&Cs”) (together the Purchase Orders and T&Cs are

referred to as the “Contract”) (Ex. A, Ex. B.)

      26.    ACS agreed in the Contract to provide express and implied warranties,

including that the Robots and associated software will “conform to all specifications,

drawings, samples and other descriptions furnished by Buyer or otherwise part of the

Order” were “selected, designed (to the extent designed by Seller), manufactured

and assembled by Seller based upon Buyer’s use,” and were “fit and sufficient for the

purposes intended by Buyer and in the location and environment in which the




                                          6
 Case 5:22-cv-11582-JEL-DRG ECF No. 1, PageID.7 Filed 07/13/22 Page 7 of 14




Product will be used, which purposes, location and environment are known to

Seller.”(Ex. A, ¶ 9.)

      27.    ACS was aware of Hutchinson’s performance, reliability and durability

needs and the intended use of the Robots before ACS recommended and sold the

Robots to Hutchison.

      28.    ACS accepted the Contract when it supplied the Robots to Hutchinson.

      29.    ACS also agreed that Hutchinson’s remedies under the Purchase Order

“will be cumulative with and in addition to all other legal or equitable remedies,” and

that Hutchinson is entitled to its attorney fees in any action “arising out of this Order

unless Seller is the prevailing party.” (Ex. A, ¶ 26.)

      30.    Hutchinson has spent many man hours and invested money and other

resources into working with ACS (and independently) to find permanent solutions to

these problems, but ACS has failed to meaningfully address them.

      31.    As a result of the defective Robots, Hutchinson has incurred significant

costs, losses and damages for which ACS is responsible including, but not limited to:

             a. Costs incurred for the Robots, accessories and software.

             b. Costs incurred for extra add-ons and fixes to address low quality

                 hardware issues.




                                           7
 Case 5:22-cv-11582-JEL-DRG ECF No. 1, PageID.8 Filed 07/13/22 Page 8 of 14




             c. Costs incurred for ACS to visit the Church Hill facility to diagnose

                issues and to repair equipment.

             d. Costs incurred for labor because the Robots never launched into

                production.

      32.    After many months of unresolved chronic performance issues and

ACS’s inability to address those issues and other safety concerns, on March 25,

2022, Hutchinson communicated a demand to ACS which articulated in detail, with

supporting documentation, the extensive and performance issues, ACS’s obligations

and breach, and associated costs and the damages resulting from the non-conforming

and defective Robots.

      33.    In response, ACS ignored and misstated its contractual and legal

obligations and denied all responsibility for Hutchinson’s claims and damages.

      34.    On June 16, 2022, Hutchinson presented a final demand to ACS which

ACS rejected and denied, but coupled with a meaningless proposal for a future one-

time, “free of charge” visit to Hutchinson to make “recommendations” regarding

the Robot performance and safety issues it has repeatedly failed to acknowledge,

diagnose or address in contravention of the applicable contracts, terms, warranties,

statutes and law.

                    COUNT I - BREACH OF CONTRACT


                                         8
 Case 5:22-cv-11582-JEL-DRG ECF No. 1, PageID.9 Filed 07/13/22 Page 9 of 14




      35.   Hutchinson restates all of the preceding paragraphs of this Complaint.

      36.   The Contract is a valid, enforceable contract supported by

consideration.

      37.   Hutchinson at all relevant times performed its obligations under the

Contract.

      38.   ACS breached the Contract with Hutchinson by, among other things:

            a. Supplying defective Robots;

            b. Failing to adequately identify, diagnose and correct the extensive

                 functional, performance, hardware, software, durability and safety

                 issues with the Robots; and

            c. Failing to reimburse Hutchinson for its costs, losses and damages

                 associated with the defective robots incurred by Hutchinson.

      39.   All conditions precedent to Hutchinson’s enforcement to the Contract

have occurred or have been met.

      40.   ACS has actual notice of the defective Robots and its breaches of

Contract.

      41.   Hutchinson has suffered compensable damages because of ACS’s

breaches of the Contract.

      42.   ACS is liable to Hutchinson for its damages.


                                         9
Case 5:22-cv-11582-JEL-DRG ECF No. 1, PageID.10 Filed 07/13/22 Page 10 of 14




   WHEREFORE Hutchinson requests this Court enter Judgment in its favor and

against ACS for its monetary damages, for the attorneys’ fees and costs associated

with this action, all interest allowable on such awards at the maximum rate allowed

by law, plus all incidental and consequential damages, and for such other and further

relief as may be just and proper under the circumstances.

              COUNT II - BREACH OF EXPRESS WARRANTY

      43.    Hutchinson restates all of the preceding paragraphs of this Complaint.

      44.    The Contract contains the following express warranties:

             a. That the Robots and associated software will “conform to all

                specifications, drawings, samples and other descriptions furnished

                by Buyer or otherwise part of the Order” (Ex. A, T&C, ¶ 9.)

             b. That the Robots and associated software were “selected, designed

                (to the extent designed by Seller), manufactured and assembled by

                Seller based upon Buyer’s use,” (Id.)

             c. That the Robots and associated software are “fit and sufficient for

                the purposes intended by Buyer and in the location and environment

                in which the Product will be used, which purposes, location and

                environment are known to Seller.” (Id.)




                                         10
Case 5:22-cv-11582-JEL-DRG ECF No. 1, PageID.11 Filed 07/13/22 Page 11 of 14




      45.    The Robots supplied by ACS were defective and non-conforming, and

failed to perform consistent with the express warranties made by ACS.

      46.    These persistent failures to perform as promised constituted a breach

of the express warranties in the Contract.

      47.    All conditions precedent to Hutchinson’s enforcement of the Contract

have occurred or have been met.

      48.    ACS has actual notice of the defective Robots and breaches of the

express warranties.

      49.    As a result of ACS’s ongoing and substantial breaches of the express

warranties, Hutchinson has suffered significant damages.

      50.    ACS is liable to Hutchinson for its damages.

   WHEREFORE Hutchinson requests this Court enter Judgment in its favor and

against ACS for its monetary damages, for the attorneys’ fees and costs associated

with this action, all interest allowable on such awards at the maximum rate allowed

by law, plus all incidental and consequential damages, and for such other and further

relief as may be just and proper under the circumstances.

        COUNT III - BREACH OF THE IMPLIED WARRANTY OF
                       MERCHANTABILITY

      51.    Hutchinson restates all of the preceding paragraphs of this Complaint.

      52.    ACS is a merchant with respect to the Robots it supplied to Hutchinson.

                                         11
Case 5:22-cv-11582-JEL-DRG ECF No. 1, PageID.12 Filed 07/13/22 Page 12 of 14




      53.    ACS’s sale of the Robots to Hutchinson included an implied warranty

of merchantability as provided in MCL § 440.2314.

      54.    Pursuant to this implied warranty of merchantability, the Robots had to

pass without objection in the trade and be fit for the ordinary purposes for which the

Robots are to be used, which purposes were known to ACS.

      55.    ACS breached the implied warranty of merchantability by, among other

things, supplying defective Robots that were not merchantable and not fit for the

ordinary purpose for which the Robots are used.

      56.    ACS has actual notice of the defective Robots and its breach of the

implied warranty of merchantability.

      57.    As a result of ACS’s breaches of the implied warranty of

merchantability, Hutchinson has suffered damages.

      58.    ACS is liable to Hutchinson for its damages.

   WHEREFORE Hutchinson requests this Court enter Judgment in its favor and

against ACS for its monetary damages, for the attorneys’ fees and costs associated

with this action, all interest allowable on such awards at the maximum rate allowed

by law, plus all incidental and consequential damages, and for such other and further

relief as may be just and proper under the circumstances.

 COUNT IV - BREACH OF IMPLIED WARRANTY OF FITNESS FOR A
                  PARTICULAR PURPOSE
                                         12
Case 5:22-cv-11582-JEL-DRG ECF No. 1, PageID.13 Filed 07/13/22 Page 13 of 14




      59.    Hutchinson restates all of the preceding paragraphs of this Complaint.

      60.    ACS’s sale of the Robots to Hutchinson included an implied warranty

of fitness for a particular purpose as provided in MCL § 440.2315.

      61.    Pursuant to the implied warranty of fitness for a particular purpose ACS

warranted that the Robots were fit and sufficient for their intended purpose and

particular purpose.

      62.    ACS knew the intended and particular purpose for which Hutchinson

procured the Robots.

      63.    Hutchinson relied upon the skill and judgment of ACS in selecting and

purchasing the Robots from ACS.

      64.    The Robots supplied by ACS were defective and not fit for their

particular and intended purpose. Accordingly, ACS breached the implied warranty

of fitness for a particular purpose.

      65.    ACS has actual notice of the defective Robots and its breach of the

implied warranty of fitness for a particular purpose.

      66.    As a result of ACS’s breaches of the implied warranty of fitness for a

particular purpose, Hutchinson has suffered damages.

      67.    ACS is liable to Hutchinson for its damages.




                                          13
Case 5:22-cv-11582-JEL-DRG ECF No. 1, PageID.14 Filed 07/13/22 Page 14 of 14




   WHEREFORE Hutchinson requests this Court enter Judgment in its favor and

against ACS for its monetary damages, for the attorneys’ fees and costs associated

with this action, all interest allowable on such awards at the maximum rate allowed

by law, plus all incidental and consequential damages, and for such other and further

relief as may be just and proper under the circumstances.

                                   Jury Demand

      Hutchinson respectfully demands a trial by jury on all issues triable by jury.


Dated: July 13, 2022                       Respectfully submitted,

                                           By: /s/ Madeline E. Leamon
                                           Herbert C. Donovan (P51939)
                                           Madeline E. Leamon (P83707)
                                           Brooks Wilkins Sharkey & Turco PLLC
                                           401 S. Old Woodward, Suite 400
                                           Birmingham, MI 48009
                                           248.971.1800
                                           donovan@bwst-law.com
                                           leamon@bwst-law.com
                                           Attorneys for Hutchinson Sealing
                                           Systems, Inc.




                                         14
